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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT FILED
                                                             for the                             February 22, 2021
                                                 Northern District of __________
                                              __________              Texas                     KAREN MITCHELL
                  United States of America                      )                             CLERK, U.S. DISTRICT
                             v.                                 )                                   COURT
                                                                )      Case No. 3:21-MJ-167-BK
             JENNIFER LYNNE FAITH                               )
                                                                )
                                                                )
                                                                )
                          Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               January 10, 2021              in the county of                Dallas        in the
     Northern          District of         Texas            , the defendant(s) violated:

            Code Section                                                  Offense Description
18 U.S.C. § 1519                             Obstruction of Justice – Destruction and Concealment of a
                                             Tangible Object with the Intent To Obstruct a Federal
                                             Investigation




         This criminal complaint is based on these facts:

See Attached Affidavit of ATF TFO Eric Barnes




         ✔ Continued on the attached sheet.
         u


                                                                                           Complainant’s signature

                                                                                          Eric Barnes - ATF TFO
Via reliable electronic means, as authorized by Fed. R. Crim. P.                            Printed name and title
4.1, on February 22, 2021, the agent confirmed under oath the
validity of his facsimile signature, his knowledge of the contents
herein, and the veracity of the same.
Date:        February 22, 2021
                                                                                              Judge’s signature

City and state:           Dallas, Texas                                   RENÉE HARRIS TOLIVER, U.S. Magistrate Judge
                                                                                            Printed name and title
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                                        AFFIDAVIT

        I, Eric Barnes (Affiant), a Task Force Officer with the Bureau of Alcohol,

Tobacco, Firearms and Explosives (ATF), Dallas, Texas, being duly sworn, state:

                                   INTRODUCTION

      I am a Task Force Officer with the United States Department of Justice, Bureau of

Alcohol, Tobacco, Firearms, and Explosives and have been so assigned to that position

since February 2016. I have been employed as a certified peace officer commissioned by

the Dallas Police Department for approximately 14 years. I have been assigned to the

Homicide Unit since December 2012. Prior to being assigned to the Homicide Unit, I was

a detective working in the Organized Crime Unit for approximately two years specifically

targeting gang members, narcotic traffickers, or any other group committing serial

offenses throughout the City of Dallas. Since 2007, I have been a liaison with the Dallas

Police Gang Unit. I am currently a member of the Texas Violent Gang Task Force and

the Texas Gang Investigator’s Association. Annually, I receive approximately 40 hours

of specialized training in gang identification, gang documentation and advanced gang

investigation techniques from experts across the country. I am commonly utilized by the

Dallas District Attorney’s office to provide expert testimony on street level gangs

operating within the City of Dallas. I hold a master peace officer’s license from the

Texas Commission on Law Enforcement (TCOLE). I have experience investigating

Capital Murder, Murder, Aggravated Assault, Aggravated Robbery, violations of the

Texas Health and Safety Code, including but not limited to, the procurement and



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execution of search warrants, federal firearm investigations, interviewing and working

confidential informants, the detection and identification of various narcotics and other

dangerous drugs and the review of taped conversations obtained from wire intercepts.

Through my training, education, and experience, I have become familiar with the manner

in which illegal drugs and firearms are transported, stored, distributed, and the methods

of payments for such.

                               PURPOSE OF AFFIDAVIT

       This affidavit is made in support of a criminal complaint against Jennifer Lynne

Faith (W/F 04/26/1972) for violations of 18 U.S.C. §1519 (Obstruction of Justice –

Destruction and Concealment of a Tangible Object with the Intent To Obstruct a Federal

Investigation), in Dallas, Texas, in the Northern District of Texas.

                          INVESTIGATION BACKGROUND

     Because this affidavit is being submitted for the limited purpose of establishing

probable cause for the requested criminal complaint, I have not included each and every

fact known to me concerning this investigation. I have set forth facts that I believe are

necessary to establish probable cause of a violation of a federal criminal offense,

specifically 18 U.S.C. §1519 (obstruction of justice). I have included information in this

affidavit that was provided to me by other law enforcement agents investigating this case.

                                  PROBABLE CAUSE

       On October 9, 2020, at approximately 7:35 am, Dallas Police patrol officers

responded to a shooting call at 1002 S. Waverly Drive, Dallas, Texas 75208. Upon

arrival, officers observed complainant James Faith lying on the ground suffering from


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what appeared to be multiple gunshot wounds. Dallas Fire Rescue arrived at the scene

and pronounced the complainant deceased. The murder occurred the morning after the

victim and his wife celebrated their 15th anniversary.

        During the investigation, your Affiant learned that the victim left his residence

with his wife, Jennifer Faith, to walk their dog. While walking their dog an unknown

suspect approached them and shot the victim with a firearm, causing his death. Your

Affiant has learned that the victim was killed by a .45 caliber handgun. Shell casings

from the murder weapon were recovered from the scene. The victim was shot a total of

seven times ---- three times in the head, three times in the chest and one time in the groin.

Witnesses, in the immediate area of the shooting heard shots and observed the suspect

enter a black Nissan pickup truck and flee the location immediately after the shooting.

Detectives were able to retrieve several surveillance videos documenting the suspect

vehicle and its route leaving from the crime scene.

        The vehicle used by the suspected shooter was a black, older model Nissan Titan

pickup truck, with a distinctive white “T” sticker/ decal on the lower left (driver’s side)

portion of the back window (see still photo below taken on the morning of the murder).

Detectives were not able to make out any details from the license plate on the truck.




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       (Photo taken October 9, 2020)

        Dallas homicide detective Chris Walton, who is the lead detective in the murder

investigation, interviewed the victim’s wife Jennifer Faith on the day of the murder.

Jennifer Faith told Detective Walton that she and the victim left their residence that

morning to walk their dog. Jennifer Faith exited out of her residence with their dog first

and her husband (the victim) followed behind her. Jennifer Faith stated she heard the

sound of footsteps coming up behind them and turned around to observe an unknown

assailant pointing a gun at her husband. The suspect shot the victim multiple times

causing him to fall on the ground. Jennifer Faith stated the suspect attacked her, placed

duct tape around her hands and began striking her with the palm of his hand while she

was on the ground. Jennifer Faith stated she then screamed for help and the suspect fled

the location. Nothing was taken from James Faith or Jennifer Faith. Jennifer Faith

advised Detective Walton that the suspect was a medium built man. She advised that he

was wearing a blue face mask and the suspect’s eyes appeared black. Jennifer Faith did

not provide any description of the vehicle used by the shooter. The description of the

truck came from witnesses at the scene. During the interview, Jennifer Faith gave written



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consent to Detective Walton for a cell phone extraction of her cell phone.

         An analysis of the contents of Jennifer Faith’s cell phone revealed that she and her

husband were having marital problems at the time of his death. Based on text messages

reviewed by investigators, Jennifer Faith was involved in a lengthy “emotional affair”

with an individual identified as Darrin Ruben Lopez (w/m, 6/7/1972). Detectives

researched data from Jennifer Faith’s cell phone and located a telephone number for

Lopez, his birthdate, email address and his current address, 1285 Sweet Home Road,

Cumberland Furnace, Tennessee (See below).




         As referenced above, investigators began reviewing text messages on Jennifer

Faith’s cell phone. In the text messages to one of her contacts, Jennifer Faith described

her relationship with Lopez. On April 20, 2020, at approximately 7:51 pm, Jennifer Faith

began sending a series of text messages to one of her contacts identified as “Spreng

Tina”:



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2:51 PM- “So, I have no idea when I am going to be able to talk to you over the phone,
but I am pretty much having a full-blown emotional affair.

2:52 PM- “and Jamie (James Faith) knows it.”

2:53 PM- “This guy I dated in high school and college, we broke up because I was
finishing school and after he got out of basic training, he was deployed to south Korea.”

2:53 PM- “He ended up going Special Forces and served 26 years.”

2:53 PM- “Just retired and found me.”

2:53 PM- “We were going to get married at the time.”

2:53 PM- “Then I met Amber’s bio dad.”

2:54 PM- “Right after he Left.”

3:17 PM- “Spreng Tina” texts “Jamie knows” and “How does he feel?”

3:21 PM- “Scared and sad” is what he said

3:27 pm- “Spreng Tina” asks Jennifer Faith “Where does the other guy live?”

3:28 PM- “He was stationed out of TN and bought a house there with 20 acres, so he’s
there now.”

        Jennifer Faith continued the text message conversation and informed “Spreng

Tina” that she and her husband had not had sex in four years. Faith also informed

“Spreng Tina” that the name of her ex-boyfriend is “Darrin” and she is in constant

contact with “Darrin” all day every day. On May 2, 2020, at approximately 12:31 am,

Jennifer Faith stated to “Spreng Tina” in a text message:

12:31 AM- “He’s already a) planning on me being there and b) you coming to visit me”.

12:31 AM- “He says he has a 5-year plan to get me there.”

Your Affiant believes that Jennifer Faith is referring to Darrin Lopez in the above



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referenced text messages.

        On August 6, 2020, at approximately 10:30 am, “Spreng Tina” sent a text message

to Jennifer Faith asking:

         “You still talking to that guy?” Jennifer Faith responded: “I put the brakes on

him”, “Jamie was so hurt and internalizing everything”, “I just couldn’t do it to him.”

Your Affiant believes that this conversation is regarding the status of Jennifer Faith’s

emotional affair with Lopez and the emotional toll it had taken on her husband.

        During a subject check of Lopez, your Affiant learned that he owns a black Nissan

Titan truck matching the description of the vehicle used by the suspect that shot and

killed James Faith on October 9, 2020. A Dallas County District Judge signed a search

warrant for Lopez's cell phone records. A review of records from Verizon revealed Lopez

uses a Samsung Galaxy cell phone, cell number 615-630-3046 IMSI # 31148052. The

phone is subscribed in Lopez’s name and shows a listed address of 1285 Sweet Home

Road, Cumberland Furnace, Tennessee. Because the evidence indicated that a suspect in

the murder may have come from out of state to commit the murder, the Dallas Police

Department and the Bureau of Alcohol Tobacco and Firearms (ATF) began a joint state

and federal investigation into the murder of James Faith. In November 2020, a federal

grand jury investigation was initiated in the United States District Court Northern District

of Texas and grand jury subpoenas were issued.

                                Darrin Lopez Cell Phone Records

        Law enforcement officials have analyzed Darrin Lopez’s cell phone records and

his cell phone has been in contact with Jennifer Faith’s cell phone thousands of times


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during the months leading up to and following the murder. For example, between

November 25, 2020 and December 6, 2020 Lopez’s cell phone and Jennifer Faith’s cell

phone had over 5700 incidents of phone contacts (calls, texts) during just that twelve-day

period. The records corroborate the text message Jennifer Faith sent to “Spreng Tina”

months before the murder advising that she (Jennifer Faith) is in constant contact with

“Darrin” (Darrin Lopez) all day every day.

         On October 5, 2020, Lopez’s cell phone and Jennifer Faith’s cell phone

communicated by text message approximately 667 times. On October 6, 2020, the two

phones communicated by text message approximately 419 times. Lopez’s cell phone

records show that two days before James Faith’s murder (October 7, 2020), Lopez’s cell

phone and Jennifer Faith’s cell phone were in contact approximately 640 times. The day

following the murder (October 10, 2020), the phones were in contact approximately 270

times. The following day (October 11, 2020) the phones were in contact approximately

381 times. On October 12, 2020, Lopez’s cell phone and Jennifer Faith’s cell phone

communicated approximately 285 times. 1

         However, a review of Lopez’s cell phone records on October 8, 2020 and October

9, 2020, shows a highly inconsistent pattern of contact between the two cell phones. Your

Affiant knows after reviewing Lopez’s cell phone records that the last cell phone number

Lopez texted on October 8, 2020, prior to leaving Tennessee was Jennifer Faith’s cell


1
  ATF investigative analysts utilized PLX Penlink as an analytic tool to review Verizon cell records. PLX is a
collection and analysis tool utilized by ATF to examine digital information. It generates reports based on the raw
data to create an intelligence product. Your Affiant reviewed the PLX report created after Lopez’s Verizon cell
records were entered into PLX Penlink.



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phone. That text message occurred at approximately 1:07 pm while Lopez was in Dixon,

Tennessee. Prior to that 1:07 pm text there were 133 other text messages between the two

phones on that day. Following that text message however, the two phones suddenly

stopped communicating with each other for a period of over twenty-eight hours. Records

reflect Lopez’s cell phone was turned off during a substantial portion of that time.

        After the murder of James Faith on October 9, 2020, Jennifer Faith met with

Dallas Police investigators throughout the morning. The interviews concluded in the

afternoon on the day of the murder when Jennifer Faith had a medical episode. Your

Affiant knows after reviewing Lopez’s cell phone records that the first call or text Lopez

made from his cell phone following the murder of James Faith was to Jennifer Faith’s

cell phone. Lopez’s cell phone sent a text message to Jennifer Faith’s cell phone at 5:18

pm ---- over nine hours after the murder. Following that text message, Lopez’s cell phone

received an incoming text from Jennifer Faith’s cell phone at 5:41 pm. Over the next

several hours, phone records reflect approximately 50 incoming and outgoing texts

between the two cell phones. Cell phone records also show that in the days following

James Faith murder (October 9, 2020 to November 25, 2020), Jennifer Faith’s cell phone

sent 13,644 text messages (SMS) to Lopez’s cell phone. Jennifer Faith’s cell phone and

Lopez’s cell phone were in contact almost 24,000 times --- an average of over 500 times

per day. In addition to those text messages (SMS), the two sent or received from each

other an additional 3373 messages that included content (photos/videos or third party)

(MMS) messages during that same period of time.

        Your Affiant knows that it is approximately a 650-mile drive from Dallas, Texas


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to Cumberland Furnace, Tennessee. I-30 out of Texas to I-40 into Tennessee is the most

common route a person would take to make that drive. Cell tower data shows that

Lopez’s cell phone signal bounced off a cell tower on I-40 when he placed a cell phone

call at approximately 4:32 pm (approximately nine hours after the murder). The cell

tower used is located approximately 62 miles west of Lopez’s residence on I-40. A

second cell tower hit was recorded 39 minutes later at 5:11 pm. That cell tower is located

approximately 47 miles east of the first tower hit and approximately 20 miles from

Lopez’s residence. The cell tower hits are consistent with a person traveling east away

from Texas and the timeline matches where Lopez would be if he left Dallas, Texas in

route to his home shortly after the time of the murder.

        As referenced above, Jennifer Faith gave written consent to Detective Walton for a

cell phone extraction of her cell phone shortly after the murder. Despite Lopez’s cell

phone records showing thousands of communications between the two phones in the

months before James Faith’s murder, most of those communications were not present on

the phone. Your Affiant believes that the communications with Lopez’s cell phone were

intentionally deleted from Jennifer Faith’s cell phone prior to the phone being given to

detectives.

                Darrin Lopez Finances/Life Insurance/GoFundMe Account

        Credit reports reviewed following James Faith’s murder reflect that Darrin Lopez

was having financial problems. According to his payment history for the property located

at 1285 Sweet Home Road, Cumberland Furnace, Tennessee, Lopez is at least 120 days

past due on mortgage payments. Carrington Mortgage reported that Lopez’s account is


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“foreclosure initiated” with $38,157.00 being “past due.” According to utility records,

Lopez’s water account to his residence at 1285 Sweet Home Road, Cumberland Furnace,

Tennessee was shut off due to nonpayment in October 2020.

        In November 2020, a representative of MetLife Insurance Co. contacted Detective

Walton. Detective Walton was informed that the victim, James Faith, had a life insurance

policy worth in excess of $600,000 upon his death and that the beneficiary was

attempting to collect on the policy. Your Affiant has learned that Jennifer Faith is the

beneficiary of the life insurance policy.

        Your Affiant also learned that on October 10, 2020, a GoFundMe campaign

entitled “Support for Jennifer Faith” was created. GoFundMe is a crowdfunding platform

that allows people to make donations to benefit others dealing with challenging

circumstances in their lives. Over $60,000 in donations was raised in the “Support

Jennifer Faith” fund. Jennifer Faith was named as the sole beneficiary. GoFundMe

records reflect that on October 13, 2020, $30,307.71 was withdrawn from the account.

The following day an additional $7,649.61 was withdrawn. On October 15, 2020, an

additional $6,082.92 was withdrawn. By December 3, 2020, Jennifer Faith had

withdrawn all the remaining funds.

                                    Darrin Lopez Debit Card

        Your Affiant learned that Darrin Lopez has a checking account through USAA

(Account #36417XXX). A debit card is linked to that bank account. Your Affiant has

reviewed the transaction history on that debit card in the days leading up to the murder.

        On October 7, 2020, Lopez used his debit card at Valvoline Instant Oil Change in


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Dickson, Tennessee. The total charge was $133.69. Your Affiant has reviewed the receipt

from this transaction, and it reflects that Lopez had the oil and air filter changed and had

a “vehicle light replaced” on his 2004 Nissan Titan pickup truck VIN

#1N6AA07B74N592785. The receipt also reflects Lopez’s address as 1285 Sweet Home

Road, Cumberland Furnace, TN, 37051. Your Affiant believes this work on Lopez’s

vehicle was done in preparation for his drive to Texas the following day.

        On October 8, 2020, the day before James Faith’s murder, Lopez’s debit card was

used to make two transactions (1:42 pm and 1:44 pm) at Huck’s Food and Fuel Store in

Dickson, Tennessee in the amount of $100 and $21.75. Dickson, Tennessee is

approximately 14 miles south of Lopez’s residence in Cumberland Furnace, Tennessee.

Your Affiant knows Lopez would pass through Dickson, Tennessee if traveling to I-40.

        Also, on October 8, 2020, at 4:51 pm, Lopez’s debit card was used at a Pilot

Travel Centers (#60700) truck stop located at 3400 Service Loop Road, West Memphis,

Arkansas. Your Affiant has learned Lopez’s debit card was used to purchase $19.45

worth of gas. The debit card was also used in a separate transaction to purchase two DVD

movies, Red Bull canned drinks and some food. Your Affiant knows that Red Bulls are

energy drinks that are commonly used by people to stay awake. Security cameras at the

truck stop captured images of Lopez and his 2004 Nissan Titan pickup truck, VIN

#1N6AA07B74N592785 during this transaction. Security cameras captured Lopez inside

and outside the truck stop. The images of Lopez captured inside the Pilot truck stop

match Jennifer Faith’s description of the shooter (medium build male wearing a blue

mask) (See images below).


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        (Lopez outside Pilot Travel Centers (#60700) truck stop located at 3400 Service Loop Road, West
        Memphis, Arkansas on October 8, 2020)




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                      (Lopez inside Pilot Travel Centers (#60700) truck stop located at 3400 Service Loop Road,
                      West Memphis, Arkansas on October 8, 2020)




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                  (Lopez’s vehicle departing Pilot Travel Centers (#60700) truck stop located at 3400 Service
                   Loop Road, West Memphis, Arkansas on October 8, 2020)



        At 5:02 pm on October 8, 2020, Lopez made an ATM withdraw using his debit

card in West Memphis, Arkansas in the amount of $100 (plus a $3.95 service charge).

Seven minutes later (5:09 pm), Lopez’s debit card was used at a Flying J Truck Stop in


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West Memphis, Arkansas in the amount of $51.00. Your Affiant knows that West

Memphis, Arkansas is approximately 185 miles west of Dickson, Tennessee and 200

miles southwest of Lopez’s residence via I-40. The location of charges on Lopez’s debit

card on October 8, 2020 indicate Lopez was traveling west on I-40 the day before the

murder. Your Affiant believes that at the time these purchases were made, Lopez was in

route to Dallas, Texas from Tennessee.

        Financial records reflect that Lopez used his debit card multiple times on October

5th, October 6th, October 7th and October 8th, 2020. However, similar to his call patterns

with Jennifer Faith, his use of his debit card stopped for approximately 29 hours between

the purchase at the Flying J in West Memphis, Arkansas (October 8, 2020 at 5:10 pm)

and the next time the card was used --- at 10:27 pm on October 9, 2020 back at Huck’s

Food and Fuel Stop in Dickson, Tennessee. This transaction was approximately 15 hours

after the murder of James Faith. Your Affiant believes that Lopez’s ATM debit card

transaction ($100) in West Memphis, Arkansas on October 8th provided him with the

cash necessary to make additional purchases of food and gas on his drive to Dallas, Texas

and back home to Tennessee without leaving a record on his USAA bank account that

could be used to track his location.

                            2004 Nissan Titan Pickup Truck

        On November 6, 2020, ATF Special Agent Benjamin Colkmire contacted

Assistant Special Agent in Charge Patrick Looney with the Aviation Unit at the

Tennessee Bureau of Investigation to request aerial surveillance support. Special Agent

Colkmire requested aerial photographs and video footage of the structures and vehicles


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located at 1285 Sweet Home Road, Cumberland Furnace, Tennessee.

        On November 24, 2020, Special Agent Colkmire reviewed the aerial footage and

observed a vehicle believed to be an older model, black Nissan Titan truck parked on the

property. The vehicle also had a distinctive white “T” decal on the lower left side

(driver’s side) of the rear window, which matches the suspect vehicle used in the murder

of James Faith (see photo below).




        On December 2, 2020, Jennifer Faith was interviewed by WFAA in Dallas, Texas

and made a direct reference to the murder suspect’s truck. During the interview, Jennifer

Faith was quoted as saying the following: “Somebody has got to know whose truck this

is. It’s a black Nissan Titan extended cab. It has a Texas Rangers sticker (“T”) in the

back window. So it was very distinctive from that point.” The WFAA article was

published online. Your Affiant knows that on December 3, 2020, the day after the



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interview, Jennifer Faith texted a link to the WFAA article to Lopez.

        On December 4, 2020, ATF Special Agent Colkmire was conducting surveillance

in the area of 1285 Sweet Home Road, Cumberland Furnace, Tennessee. At

approximately 10:09 a.m., Special Agent Colkmire observed the 2004 Nissan Titan

pickup truck, Tennessee License Plate Number #PH6698 at the intersection of Daniel

Lane and Sweet Home Road. Special Agent Colkmire took several photographs of the

Nissan Titan as it passed by him (see photo below). This vehicle matches the witness

descriptions and the recorded images of the vehicle used by the suspect in the murder of

James Faith including the white “T” sticker on the driver’s side back window of the

truck. When you compare this photograph to the one taken at the Pilot Truck Stop in

West Memphis, Arkansas on October 8, 2020, and the image of the vehicle at the murder

scene on October 9th, it is clear that someone has added a white emblem or decal to the

left side of Lopez’s truck tailgate. The new decal was not present on October 8th and 9th

but was present at the time Special Agent Colkmire took the photograph.




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(Photo taken December 4, 2020)

        On December 8, 2020, approximately six days after Jennifer Faith’s interview

with WFAA, a pole camera captured the image of Lopez’s vehicle traveling on the

roadway near 1285 Sweet Home Road. The distinctive “T” sticker that had been on the

back-driver’s side window of the vehicle at the time of the murder and was present in the

photograph taken on December 4, 2020 by Special Agent Colkmire and in the security

video taken October 8, 2020 at the Pilot Truck Stop had been removed. (See pole camera

image below). Your Affiant has learned that Lopez removed the “T” sticker from the

back-driver’s side window of his truck to change the appearance of his truck and avoid

suspicion by law enforcement. Your Affiant has further learned that Lopez took the steps

to remove the “T” sticker from his truck’s rear window because he was told to do so by




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Jennifer Faith in December 2020 (discussed below).




                      (Photo taken Decmber 8, 2020)

            Lopez’s Android Cell Phone / Google Precision Location History

        Your Affiant knows that Google collects and retains data about the location at

which Google Account services are accessed from any mobile device, as well as the

periodic location of Android devices while they are in use. This location data can derive

from a range of sources, including GPS data, Wi-Fi access points, cell-site locations,

geolocation of IP addresses, sensor data, user searches, and Bluetooth beacons within

range of the device. According to Google, this location data may be associated with the

Google Account signed-in or registered to the device when Location Services are

activated on the device and the user has enabled certain global settings for their Google


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Account, such as Location History or Web & App Activity tracking. The data retained

may be both precision location data, like latitude and longitude coordinates derived from

GPS, and inferential location data, such as the inference that a Google Account is in

Dallas, Texas because it conducts a series of searches about places to eat in Dallas and

directions from one Dallas location to another. Precision location data is typically stored

by Google in an account’s Location History and is assigned a latitude-longitude

coordinate with a meter radius margin of error. Inferential data is stored with an

account’s Web & App Activity. Google maintains these records indefinitely for accounts

created before June 2020, unless the user deletes it or opts to automatically delete their

Location History and Web & App Activity after three or eighteen months. Accounts

created after June 2020 auto-delete Location History and Web & App Activity after

eighteen months unless the user affirmatively changes the retention setting to indefinite

retention or auto-deletion at three months.

        As noted, your Affiant has identified an Android cell phone subscribed to Darrin

Lopez, 1285 Sweet Home Road, Cumberland Furnace, Tennessee (Samsung Galaxy cell

phone, cell number 615-630-3046 IMSI # 31148052). Based on a review of cell phone

records, your Affiant believes Lopez was intermittently using this cell phone the day

before and the day of James Faith’s murder.

        Your Affiant has also identified a Google Account used by Darrin Lopez (Google

Account ID: 21390611XXXX, Name: Darrin Lopez, email: drlp575@gmail.com). Your

Affiant also knows that Darrin Lopez utilizes a Hotmail email account that is similar to

his Gmail account (drlp75@hotmail.com) (this email address was found in Jennifer


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Faith’s cell phone). Based on a review of Lopez’s Google account records, your Affiant

is aware that on the day before James Faith’s murder (October 8, 2020), at 2:01 pm,

while in Dixon, Tennessee, Lopez used his Google navigation app on his cell phone to

get directions from his home address in Cumberland Furnace, Tennessee to take him

directly to the victim’s home in Dallas, Texas (926 S. Waverly Drive, Dallas, Texas

75208).

        As previously noted, on October 8, 2020, at 4:51 pm, Lopez was traveling west on

I-40 and used his debit card at a Pilot Travel Centers truck stop in West Memphis,

Arkansas. Video surveillance captured Lopez both inside and outside the truck stop.

Lopez was driving a truck that matches the description of the vehicle used by the

individual that murdered James Faith. At 5:14 pm, the Google GPS precision data from

Lopez’s Google account place his Android cell phone at 3476 Service Loop Road, West

Memphis, Arkansas 72301 --- in close proximity to the Pilot Travel Centers truck stop

located at 3400 Service Loop Road, West Memphis, Arkansas where he was recorded by

surveillance cameras. Lopez’s Google precision location data coupled with the Pilot

truck stop surveillance video confirms that Lopez was traveling west on I-40 out of

Tennessee and was in possession of his Android cell phone on October 8, 2020.

        Lopez’s Google account GPS coordinate records reflect that in the early morning

hours of October 9, 2020, Lopez’s cell phone was in Texas. Specifically, at 2:19 am, GPS

precision location coordinates from Lopez’s Google account place his Android cell phone

at 883 S. Waverly Drive, Dallas, Texas 75208 (32.73681, -96.8491524). This location is

within one block of the victim’s address (926 S. Waverly Drive, Dallas, Texas) and is


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approximately five hours before James Faith’s murder.

        Your Affiant is also aware that homicide detectives reviewed the Google Chrome

search history associated with Lopez’s Google account. Since October 9, 2020, Lopez’s

cell phone was used to search multiple articles related to the James Faith’s murder. The

first article was viewed on October 9th, 2020, the day of the murder, at approximately

10:37 pm after Lopez had returned to Tennessee.

                              James Faith’s Ring Security Camera

        Your Affiant is aware that James Faith’s residence was equipped with a Ring

motion-activated security camera positioned at the back of his residence on the day of the

murder. At night, the Ring device uses infrared technology to detect movement and begin

recording. By default, images/recordings are stored to its cloud and kept for

approximately six months. Anything older than six months is automatically deleted.

        Your Affiant is also aware that a vacant blue in color house sits next-door to the

victim’s residence on Waverly Drive. Your Affiant has reviewed police bodycam footage

from October 9, 2020 and knows that James Faith was shot and killed directly in front of

this blue house that is next door to the victim’s residence.

        At approximately 2:30 am on the morning of the murder, the victim’s Ring

security camera in his backyard was activated and recorded the image of a man matching

the description of Darrin Lopez in the backyard of the vacant blue house next to James

Faith’s residence. The clothes the subject in the video is wearing match the clothes that

Darrin Lopez was wearing when he was recorded at the Pilot truck stop in West

Memphis, Arkansas a few hours earlier. Your Affiant has reviewed the Ring surveillance


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video. The subject in the video is also wearing a blue mask just like the one Darrin Lopez

was wearing while inside the Pilot truck stop and the mask matches the description

Jennifer Faith gave of the mask the shooter was wearing at the time James Faith was

killed. (See images below).




        (The top photo was taken at approximately 4:50 pm on October 8, 2020 at the Pilot Travel
        Centers truck stop in West Memphis, Arkansas. The bottom photo was captured by the victim’s
        Ring security camera at approximately 2:30 am on October 9, 2020)

        Based on a review of the Google records and other evidence gathered during this

investigation, your Affiant believes, Lopez, while in possession of his Android cell

phone, departed Tennessee during the afternoon of October 8, 2020. He communicated

with Jennifer Faith via text one final time that day at 1:07 pm. His calls and texts then

ended for over 24-hours. Lopez used a Google app on his cell phone to obtain directions

directly to the victim’s home. Lopez drove through the night and arrived within one block



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of James Faith’s home by 2:19 am on the morning of the murder. After arriving, he went

into the backyard of the adjacent home next to the victim’s home and he waited for the

opportunity to ambush James Faith. At approximately 7:35 am, Lopez approached James

Faith from behind on the sidewalk in front of that vacant house and shot him multiple

times with a .45 caliber handgun causing Faith’s death. Lopez then fled the location in his

black 2004 Nissan pickup truck that had a “T” decal on the back window. Lopez used his

cell phone to text Jennifer Faith at 5:18 pm when he arrived back in Tennessee. Jennifer

Faith replied to the text a few minutes later.

                                      Arrest of Darrin Lopez

        On January 11, 2021, ATF Special Agents (SA) were conducting surveillance on

Hwy. 48 in Dickson County, Tennessee, in an attempt to locate and arrest Lopez on the

outstanding murder warrant. While conducting surveillance, Agents observed a silver

2006 Toyota Scion, Tennessee License Plate Number # M25U, traveling southbound

towards Dickson, Tennessee.

        During the course of the investigation, Agents knew the Toyota Scion to be

frequently operated or occupied by Lopez. Agents observed a white female, later

identified as Lopez’s daughter, Mackenzie Lopez, operating the vehicle. Agents

identified Lopez as the front seat passenger inside the vehicle. Agents followed the

Toyota Scion to 217 Church St, Dickson, Tennessee. At this time, Agents observed

Lopez exit the front passenger’s seat of the Toyota Scion.

        ATF SA Jason Reeves made contact with Lopez to affect the arrest. As SA Reeves

was placing Lopez into custody, SA Reeves asked Lopez if he (Lopez) had any weapons


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on his person. Lopez stated there were no weapons on his person, but there was a .45

caliber pistol concealed in a bag inside the Toyota Scion. Lopez stated the firearm was

loaded with a bullet in the chamber. Your Affiant knows that James Faith was killed by a

.45 caliber handgun. Agents obtained a federal search warrant in the United States

District Court in the Middle District of Tennessee and searched the Toyota Scion.

        Inside the vehicle, agents recovered a bag. Inside was a .45 caliber handgun and

ammunition as well as military patches belonging to Lopez. Agents also located what

appeared to be credit cards in Jennifer Faith’s name, a blue face mask matching the

facemask used by the subject recorded the morning of the murder by the Ring security

camera and Lopez’s Samsung Galaxy cell phone, cell number 615-630-3046 IMSI #

31148052. (See below). Law enforcement agents have transported the evidence to the

Northern District of Texas.




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                          Search of Darrin Lopez’s Residence

     On January 7, 2021, a United States Magistrate Judge in the Middle District of

Tennessee signed a warrant authorizing the search of Lopez’s residence located at 1285



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Sweet Home Road, Cumberland Furnace, Tennessee. Following Lopez’s arrest on

January 11, 2021, ATF agents executed the search warrant. As agents approached the

property, a large FEDEX box was observed on the front porch of the residence. The box

was addressed from Jennifer Faith to Darrin Lopez and your Affiant learned that the box

at one time contained a large screen Samsung television that was subsequently found

unopened in the living room of the residence (see below).




      (FEDEX Box on porch of 1285 Sweet Home Road, Cumberland Furnace, Tennessee on January 11, 2021)




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        (Living Room of 1285 Sweet Home Road, Cumberland Furnace, Tennessee on January 11, 2021)

     Agents conducting the search of Lopez’s residence located a tan colored satchel.

Inside the satchel agents found a Smith and Wesson Model 4506 .45 caliber handgun

bearing serial number VAS0598. Also located in the bag, agents recovered an unopened

can of Red Bull energy drink and two DVDs (see below). Your Affiant believes the Red

Bull and DVDs were purchased by Lopez on October 8, 2020 at Pilot Travel Centers

truck stop located at 3400 Service Loop Road, West Memphis, Arkansas while he was in

route to Dallas, Texas.




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        (Photo taken January 11, 2021 inside 1285 Sweet Home Road, Cumberland Furnace, Tennessee)




       Your Affiant knows that after the Smith and Wesson Model 4506 .45 caliber

handgun bearing serial number VAS0598 was brought back to Dallas, agents used the



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National Integrated Ballistic Information Network (NIBIN) to confirm that the firearm

found inside Lopez’s residence on January 11, 2021 was the murder weapon used to kill

James Faith on October 9, 2020. Your Affiant has also reviewed the ATF Firearms Trace

Summary of the murder weapon and it reveals that the Smith and Wesson Model 4506

.45 caliber handgun bearing serial number VAS0598 was traced to a foreign firearms

dealer (ETS. JACQUES NICOLAY 64 Chaussee De Chatelet 64, Gilly B-6060

Belgium).

        On or about January 22, 2021, Darrin Ruben Lopez was charged in the Northern

District of Texas by criminal complaint with violating 18 U.S.C. §924(b) (transporting a

firearm in interstate or foreign commerce with the intent to commit a felony offense

(murder)). Lopez was extradited from Tennessee to Dallas, Texas on Friday, February 5,

2021 on the Dallas County murder warrant. He is currently in the custody of the Dallas

County Sherriff’s Office.

                             Jennifer Faith’s Text Messages

        As noted, Detective Walton took possession of Jennifer Faith’s cell phone (cell

number 602-531-4240) on October 9, 2020 following the murder of James Faith. A

review of the contents of that cell phone revealed that she was involved in an “emotional

affair” with Darrin Lopez and that most of the text messages sent and received as of

October 9, 2020 between Jennifer Faith’s cell phone and Darrin Lopez’s cell phone had

been deleted prior to the cell phone being given to Detective Walton.

        On January 11, 2021, an interview was scheduled with Jennifer Faith at Dallas

Police Department Headquarters. The meeting was scheduled to take place on the same


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day that ATF agents were executing search warrants and arresting Darrin Lopez in

Cumberland Furnace, Tennessee. Present at the interview was Detective Walton and ATF

Special Agent Paul Williams. An Assistant United States Attorney watched a live feed of

the interview over a television in a separate area of the office. During the meeting, after

being asked about Darrin Lopez by Detective Walton, Jennifer Faith acknowledged that

she communicated with Lopez daily on his cell phone with her cell phone. However, she

denied any inappropriate or intimate relationship with Lopez.

         As noted, on January 11, 2021, Darrin Lopez’s Samsung Galaxy cell phone (cell

number 615-630-3046) was recovered by ATF agents from the Toyota Scion that he was

traveling in at the time of his arrest. The cell phone was brought back to the Northern

District of Texas and a federal search warrant was obtained authorizing a search of the

phone on January 14, 2021. On or about January 21, 2021, agents with the Department of

Homeland Security (HSI) Dallas Forensics utilized a Cellebrite Physical Analyzer to

process and analyze the cell phone.

         Numerous incoming and outgoing text messages between Jennifer Faith’s cell

phone and Lopez’s cell phone were extracted. Included in those text exchanges were

conversations related to deleting old text messages between Jennifer Faith and Darrin

Lopez. For example, on November 30, 2020, the following text message exchange took

place:

6:00 P.M. – Darrin Lopez to Jennifer Faith: “Ok reset my phone deleted old texts…I
would erase and they would pop back up. Looks like they are erased now, not sure what
is going on.”

7:13 PM – Jennifer Faith to Darrin Lopez: “Big smile over here at that”


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        Many of the text messages recovered on Lopez’s cell phone related to Jennifer

Faith’s ongoing “emotional affair” with Darrin Lopez. For example, on November 30,

2020, the following text exchange occurred between Jennifer Faith’s cell phone and

Darrin Lopez’s cell phone:

7:15 P.M. – Darrin Lopez to Jennifer Faith: “Ooooo I so NEED TO FILL YOU WITH
HOT CUM”

7:15 PM – Jennifer Faith to Darrin Lopez: “Oh god YES”

(12/2/2020) 12:01 AM -- Jennifer Faith to Darrin Lopez: “I am so in love with you”

(12/15/2020) 6:03 AM -- Jennifer Faith to Darrin Lopez: “I truly can’t be without you at
this point”

        Other text messages recovered relate to the ongoing criminal investigation into

James Faith’s murder. For example, on December 3, 2020, the following text exchange

occurred between Jennifer Faith’s cell phone and Darrin Lopez’s cell phone regarding

what should be said to detectives about Jennifer Faith’s relationship with her husband

prior to his death:

9:28 PM – Jennifer Faith to Darrin Lopez: “If for some reason the detective ever
questioned you and asked you about my relationship with Jamie [James Faith], you would
tell them it was good as far as you know, right?”

9:29 PM – Jennifer Faith to Darrin Lopez: “Just want to make sure you would never say
anything that would stick out”

9:29 PM --- Darrin Lopez to Jennifer Faith: “Exactly…nope won’t say anything contrary
to that”

9:29 PM --- Jennifer Faith to Darrin Lopez: “Cool”

        Additional text messages recovered from Darrin Lopez’s cell phone relate to

online news articles and internet posts that discussed the James Faith murder


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investigation. For example, on December 29, 2020 the following text exchange occurred

between Jennifer Faith’s cell phone and Darrin Lopez’s cell phone:

11:18 PM – Jennifer Faith to Darrin Lopez: “Did you read through any of that stupid
“Websleuths” thread I sent you”

11:18 PM --- Darrin Lopez to Jennifer Faith: “I should have never read it”

        Your Affiant knows that “Websleuths” is an internet community that focuses on

unsolved crimes and missing persons. Registered users discuss information related to the

cases and they try to solve them. The thread Jennifer Faith is referencing in the text is a

forum that specifically posts about James Faith’s murder.

        The HSI extraction of Darrin Lopez’s cell phone also revealed that text message

communications occurred between Jennifer Faith and Darrin Lopez regarding specific

evidence that had been made public in the James Faith murder investigation by the media

--- specifically the truck used by James Faith’s killer that had a distinctive “T” sticker on

the back window. On December 3, 2020, the following text message exchange occurred

between Darrin Lopez’s cell phone and Jennifer Faith’s cell phone:

2:56 PM – Jennifer Faith to Darrin Lopez: “So, I woke up in a little bit of a
panic…..something is eating away at me telling me you need to take the sticker out of the
back window of the truck”

2:57 PM – Jennifer Faith to Darrin Lopez: “It might just be me over thinking or
something, but I’ll fee[l] a ton better if you take it off and clean the window really well”

3:20 PM – Darrin Lopez to Jennifer Faith: “Good morning Angel….i love you”

3:25 PM – Darrin Lopez to Jennifer Faith: “I have been working on that sticker a little at
a time when the truck is here. Trying to get it off looking like it is wearing off. Mac
[Lopez’s daughter] gave me the sticker so I don’t want to just take it off all at once the
girls would notice that. But I have been working on it.



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3:30 PM – Jennifer Faith to Darrin Lopez: “Oh ok good. Thank you”

        Your Affiant knows that this conversation took place the day after Jennifer Faith

was interviewed by WFAA in Dallas, Texas and made a specific reference to the “T”

sticker on the shooter’s truck (See Page 17).

        The following day, December 4, 2020, the following text message exchange

occurred between Darrin Lopez’s cell phone and Jennifer Faith’s cell phone about the

removal of the “T” sticker on Darrin Lopez’s truck:

3:53 PM – Jennifer Faith to Darrin Lopez: “I don’t normally over react like this”

3:53 PM – Jennifer Faith to Darrin Lopez: “So, when I feel this way, I listen”

3:54 PM – Jennifer Faith to Darrin Lopez: “Ok. Sorry. I know you’re going to think I am
crazy, but it’s REALLY nagging at me. I have a bad feeling and I really think you need to
get that sticker off ASAP…. like today”

3:54 PM – Darrin Lopez to Jennifer Faith: “I believe you…I love you…I will”

        Your Affiant knows that the “sticker” Jennifer Faith is requesting that Lopez

remove from his truck is the “T” decal on the back drivers-side window of Lopez’s 2004

Nissan Titan pickup truck that was identified by witnesses on the day of the murder. A

photo of the truck with the “T” on the back window was taken on the day of the murder

as Lopez fled the scene following the murder of James Faith and this photo was released

to the public by the Dallas Police Department shortly after the murder (See page 4).

        On December 6, 2020, Darrin Lopez cell phone sent a text message to Jennifer

Faith’s cell phone advising her that the “T” sticker had been removed as she had

requested:

Darrin Lopez to Jennifer Faith: “Sticker done”


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12:06 PM – Jennifer Faith to Darrin Lopez: “Oh YAY!!!”

12:07 PM – Jennifer Faith to Darrin Lopez: “Thank you!!”

8:05 PM – Jennifer Faith to Darrin Lopez: “I feel SOOOOO much better”

8:06 PM – Darrin Lopez to Jennifer Faith: “Good”

8:06 PM – Jennifer Faith to Darrin Lopez: “Can you tell if anything was ever there”

8:06 PM – Jennifer Faith to Darrin Lopez: “?”

8:07 PM – Darrin Lopez to Jennifer Faith: “A little if you look close but i[n] 2 days…no
you wont…with the dirt from the road it will be all fine”

        As noted, ATF agents observed that the “T” sticker had been removed from Darrin

Lopez’s 2004 Nissan Titan pickup truck as of December 8, 2020. After Lopez’s arrest on

January 11, 2021, a close inspection of the back window of Lopez’s truck revealed an

outline of where the “T” decal used to be prior to Jennifer Faith instructing Darrin Lopez

to remove it.

        The extraction of Darrin Lopez’s cell phone also revealed that text message

communications had occurred between Jennifer Faith and Darrin Lopez regarding the

payout of life insurance proceeds. For example, on December 29, 2020, Jennifer Faith

and Darrin Lopez discussed via text message the status of when Jennifer Faith might

receive the insurance proceeds:

11:13 PM – Jennifer Faith to Darrin Lopez: “Ok, so life insurance”

11:14 PM – Jennifer Faith to Darrin Lopez: “They aren’t processing the claim yet
because when they spoke with Detective Walton in November, he told them I couldn’t be
ruled out as a suspect”

11:14 PM – Jennifer Faith to Darrin Lopez: “So I called him”


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11:14 PM – Jennifer Faith to Darrin Lopez: “And basically said “wtf?”

11:14 PM – Jennifer Faith to Darrin Lopez: “He said, “oh – no- they must have
misinterpreted”

11:15 PM – Darrin Lopez to Jennifer Faith: “Oh no”

11:15 PM – Jennifer Faith to Darrin Lopez: “He said they want to know details of the
case and he can’t give them details of the case, so they must have taken that as not being
able to rule me out”

11:15 PM – Jennifer Faith to Darrin Lopez: “which, he’s full of crap, but whatever”

11:15 PM – Jennifer Faith to Darrin Lopez: “I said, well, I am not working, so I need this
claim paid. What can we do”

11:16 PM – Darrin Lopez to Jennifer Faith: “Hmm so now what”

11:16 PM – Jennifer Faith to Darrin Lopez: “He said he would call them on Monday and
“see what he can do to help me out”

11:16 PM – Darrin Lopez to Jennifer Faith: “Ok…he better”

11:16 PM – Jennifer Faith to Darrin Lopez: “I asked him about updates and got the same
response of “we’re working on everything”

        On January 5, 2021 the following text message exchange took place between

Jennifer Faith’s cell phone and Darrin Lopez’s cell phone:

1:13 AM – Jennifer Faith to Darrin Lopez: “I started thinking…..if life insurance doesn’t
pay out before I start to run out of money, I can always tell people that I am going to
move in with you to help with the girls in exchange for room and board…..”

1:14 AM – Darrin Lopez to Jennifer Faith: “Oh, GREAT idea”

5:02 AM – Jennifer Faith to Darrin Lopez: “I love you so much”

        Your Affiant knows that on Sunday, January 10, 2021, the day before the search

warrants and arrest warrant were executed in the Middle District of Tennessee, Detective



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Walton called Jennifer Faith and asked her to come to Dallas Police Department

Headquarters the following day to be interviewed. The timing of the meeting was

scheduled to coincide with the arrest of Darrin Lopez in Tennessee. Following the

January 10th call with Detective Walton, the following text message exchange occurred

between Jennifer Faith’s cell phone and Darrin Lopez’s cell phone:

5:50 PM – Jennifer Faith to Darrin Lopez: “Detective called. He wants me in for an
“interview” tomorrow or Tuesday”

5:50 PM – Jennifer Faith to Darrin Lopez: “He said he wants to go over the investigation
and go through some things to “start moving things forward”

5:50 PM – Darrin Lopez to Jennifer Faith: “Hmm ok…he give you a time?”

5:51 PM – Jennifer Faith to Darrin Lopez: “He didn’t”

        Nine minutes later, Jennifer Faith sent a text message to Darrin Lopez instructing

him not to text her the following day (January 11th the day of the police interview)

because she planned on wiping down her phone and deleting all text messages.

6:00 PM – Jennifer Faith to Darrin Lopez: “Don’t text me Monday. I am going to factory
reset my phone on Sunday night after deleting texts”

6:15 PM – Jennifer Faith to Darrin Lopez: “If asked about you, you are an old friend
going through a divorce. We talk every night because I am helping/giving support with
the girls since you have sole custody. If it ever comes to it, I’ll answer the same way
about financial also…..divorce killing you financially, so I am helping out where I can”

6:15 PM – Jennifer Faith to Darrin Lopez: “Just so you and I have the same
explanations”

6:15 PM – Jennifer Faith to Darrin Lopez: “We can talk after kids go to bed”

6:15 PM – Darrin Lopez to Jennifer Faith: “Good idea…I like it”

6:15 PM – Jennifer Faith to Darrin Lopez: “Just thinking in case they [law enforcement]
pulled phone records and ask”


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          Your Affiant knows that during Jennifer Faith’s interview on January 11, 2021 at

Dallas Police Headquarters, she lied and followed the script with investigators that she

advised Lopez one day earlier that she was going to follow. When asked to describe her

relationship with Lopez, Jennifer Faith advised they were just old friends and that Lopez

was going through a difficult divorce. When asked to describe the relationship she had

with her husband prior to his death she advised they were very happy and had just

celebrated being together for 15 years. When asked if she had ever provided money or

any financial benefit to Lopez, she responded that she had because Lopez’s pending

divorce had caused financial hardships on Lopez and his family.

          Following the interview, Dallas police investigators downloaded the contents of

Jennifer Faith’s cell phone and learned that the text messages that were recovered from

Lopez’s cell phone on January 21, 2021 to and from Jennifer Faith’s cell phone

(referenced above) had been deleted from Jennifer Faith’s cell phone. Your Affiant

believes that Jennifer Faith, in preparation for her meeting with Detective Walton and

ATF Special Agent Williams on January 11, 2021, did what she told Lopez she was

going to do ---“I am going to factory reset my phone on Sunday night after deleting

texts.”

          As a result of evidence gathered during this investigation, your Affiant knows that

Jennifer Faith’s persona in private was very different from the grieving widow she

portrayed in public through the media. The recovery of the text messages from Lopez’s

cell phone proves that on December 2, 2020, the day Jennifer Faith was interviewed by

WFAA and requested the public’s help locating the truck that had a “T” sticker on the


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back window, she knew that the individual that she was having an “emotional affair”

with was the person that law enforcement agents were looking for. Shortly after that

interview, to protect Darrin Lopez, her husband’s killer, Jennifer Faith instigated the

destruction of critically important evidence by asking Lopez via text message to remove

the “T” sticker from his truck. Lopez complied and did remove the sticker as Jennifer

Faith instructed. On two occasions, both before her husband’s murder and after, Jennifer

Faith took steps to destroy text messages so that law enforcement agents could not review

them. Jennifer Faith’s conduct was a calculated attempt to obstruct the criminal

investigation into the murder of her husband and her actions substantially interfered with

the administration of justice.

         Based on a review of the evidence in this investigation, your Affiant believes that

Jennifer Faith has made repeated attempts to corruptly obstruct justice and impede the

state and federal investigations into the death of her husband, James Faith. Jennifer Faith

has instructed her husband’s killer, a man she was having an “emotional affair” with, to

destroy key evidence in the case that implicates him in James Faith’s murder. She has

coached her husband’s killer on how to respond to questions that might be posed by

investigators and she has intentionally altered or destroyed the contents of her cell phone

so that potentially incriminating evidence cannot not be reviewed by law enforcement

agents or prosecutors.

                                          CONCLUSION

        Based on the contents of this affidavit, your Affiant believes there is probable

cause to believe that Jennifer Lynne Faith did knowingly alter, destroy, conceal, and


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cover up the contents of a tangible object, to-wit: a cellular telephone bearing cell number

602-531-4240, with the intent to impede, obstruct, or influence the investigation or

proper administration of any matter within the jurisdiction of any agency of the United

States in violation of 18 U.S.C. §1519.

                                          Eric Barnes
                                          _______________________________
                                          Eric Barnes, TFO ATF


Via reliable electronic means, as authorized by Fed. R. Crim. P. 4.1, on February 22,

2021, the agent confirmed under oath the validity of his facsimile signature, his

knowledge of the contents herein, and the veracity of the same.




                                          _________________________
                                          RENÉE HARRIS TOLIVER
                                          United States Magistrate Judge




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